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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

OAKLEY, INC.,
                                                     Case No. 19-cv-04326
                        Plaintiff,
                                                     Chief Judge Rebecca R. Pallmeyer
       v.
                                                     Magistrate Judge Sunil R. Harjani
SHENZEN EFORCHINA LIMITED and
SHENZHEN SUNSKY TECHNOLOGY
LIMITED,

                        Defendants.


                                 FINAL JUDGMENT ORDER

       This action having been commenced by Plaintiff Oakley, Inc. (“Oakley” or “Plaintiff”)

against Defendants Shenzen eForChina Limited and Shenzhen Sunsky Technology Limited

(collectively “Defendants”), and Oakley having moved for entry of Default and Default

Judgment against Defendants;

       Oakley having properly completed service of process on Defendants, and Defendants

having failed to answer the Complaint or otherwise plead, and the time for answering the

Complaint having expired;

       THIS COURT HEREBY FINDS that it has personal jurisdiction over Defendants since

Defendants directly target their business activities toward consumers in the United States,

including Illinois. Specifically, Defendants are reaching out to do business with Illinois residents

by operating Defendants’ website at eForChina.com through which Illinois residents can

purchase products using counterfeit versions of the Oakley Trademarks (a list of which is

included in the below chart).



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Registration           Trademark                           Goods and Services
    No.
 1,522,692              OAKLEY                For: Clothing, namely, shirts and hats in class
                                              25.
 2,293,046              OAKLEY                For: Clothing, headwear and footwear and
                                              footwear, namely, sport shirts, jerseys, shirts,
                                              jackets, vests, sweatshirts, pullovers, coats,
                                              ski pants, headwear, caps, shoes, athletic
                                              footwear, all purpose sports footwear and
                                              socks in class 25.
 3,771,517              OAKLEY                For: Retail store services and on-line retail
                                              store services featuring eyewear, replacement
                                              lenses, eyewear nosepiece kits, clothing,
                                              headwear, footwear, watches, decals,
                                              electronics devices, posters, athletic bags,
                                              handbags, backpacks and luggage in class 35.
 1,984,501                                    For: Protective and/or anti-glare eyewear,
                                              namely sunglasses, goggles, spectacles and
                                              their parts and accessories, namely
                                              replacement lenses, earstems, frames, nose
                                              pieces and foam strips; cases specially
                                              adapted for protective and/or anti-glare
                                              eyewear and their parts and accessories in
                                              class 9.


                                              For: clothing and headwear, namely T-shirts,
                                              sweatshirts, jackets, hats, and caps in class
                                              025.
 3,331,124                                    For: Protective eyewear, namely spectacles,
                                              prescription eyewear, anti glare glasses and
                                              sunglasses and their parts and accessories,
                                              namely replacement lenses, frames, earstems,
                                              and nose pieces; cases specially adapted for
                                              spectacles and sunglasses and their parts and
                                              accessories; and protective clothing, namely,
                                              racing pants in class 9.


                                              For: Clothing, namely, t-shirts, beach-wear,
                                              blouses, sports shirts, jerseys, swimwear,
                                              swimtrunks, shorts, underwear, shirts, pants,
                                              ski and snowboard pants and jackets, jeans,
                                              vests, jackets, wetsuits, sweaters, pullovers,
                                              coats, sweatpants, headwear, namely, hats,

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                                                      caps, visors and footwear, namely wetsuit
                                                      booties, shoes, sandals, athletic footwear, all
                                                      purpose sports footwear, thongs and boots in
                                                      class 025.
5,109,790                                             For: Gloves in class 25.




       THIS COURT FURTHER FINDS that Defendants are liable for willful federal trademark

infringement and counterfeiting (15 U.S.C. § 1114), false designation of origin (15 U.S.C. §

1125(a)), violation of the Illinois Uniform Deceptive Trade Practices Act (815 ILCS § 510, et

seq.), and patent infringement (35 U.S.C. § 271) of United States Design Patent Nos. D514,613,

D523,461, D568,917, D659,180, D719,209, D725,690, D725,695 and D725,696 (the “Oakley

Designs”).

       IT IS HEREBY ORDERED that Oakley’s Motion for Entry of Default and Default

Judgment is GRANTED in its entirety, that Defendants are deemed in default and that this Final

Judgment is entered against Defendants.

       IT IS FURTHER ORDERED that:

1.     Defendants, their affiliates, officers, agents, servants, employees, attorneys, confederates,

       and all persons acting for, with, by, through, under or in active concert with them be

       permanently enjoined and restrained from:

       a. using the Oakley Trademarks or any reproductions, counterfeit copies or colorable

             imitations thereof in any manner in connection with the distribution, marketing,

             advertising, offering for sale, or sale of any product that is not a genuine Oakley

             product or not authorized by Oakley to be sold in connection with the Oakley

             Trademarks;


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       b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

          Oakley product or any other product produced by Oakley, that is not Oakley’s or not

          produced under the authorization, control or supervision of Oakley and approved by

          Oakley for sale under the Oakley Trademarks;

       c. committing any acts calculated to cause consumers to believe that Defendants’

          products are those sold under the authorization, control or supervision of Oakley, or

          are sponsored by, approved by, or otherwise connected with Oakley;

       d. further infringing the Oakley Trademarks and damaging Oakley’s goodwill;

       e. manufacturing, shipping, delivering, holding for sale, transferring or otherwise

          moving, storing, distributing, returning, or otherwise disposing of, in any manner,

          products or inventory not manufactured by or for Oakley, nor authorized by Oakley to

          be sold or offered for sale, and which bear any of Oakley’s trademarks, including the

          Oakley Trademarks, or any reproductions, counterfeit copies or colorable imitations

          thereof or that infringe the Oakley Designs; and

       f. making, using, marketing, advertising, offering to sell, or selling any product having a

          design which is substantially the same as or otherwise infringes the designs claimed

          by the Oakley Designs.

2.     Pursuant to 15 U.S.C. § 1117(c)(2), Oakley is awarded statutory damages from

       Defendants in the amount of one million dollars ($1,000,000) for willful use of

       counterfeit Oakley Trademarks on products sold through at least Defendants’ website at

       eForChina.com.

3.     Any third parties holding funds for Defendants, including PayPal, Inc. (“PayPal”), shall

       within two (2) business days of receipt of this Order, permanently restrain and enjoin any

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       accounts connected to Defendants or Defendants’ website at eForChina.com from

       transferring or disposing of any money or other of Defendants’ assets.

4.     All monies currently restrained in Defendants’ financial accounts, including monies held

       by third parties such as PayPal, are hereby released to Oakley as partial payment of the

       above-identified damages, and third parties, including PayPal, are ordered to release to

       Oakley the amounts from Defendants’ financial accounts within ten (10) business days of

       receipt of this Order.

This is a Final Judgment.



DATED: August 26, 2019


                                            Rebecca R. Pallmeyer
                                            United States District Judge




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